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                             Attachment C
 Case 2:20-cv-13134-LVP-RSW ECF No. 161-4, PageID.6069 Filed 07/26/21 Page 2 of 2
Williams Huron Gardens 397 Trust v. Waterford Township, Not Reported in Fed. Supp....
2019 WL 659009

                                                                single brief unless the Court permits otherwise. The Court did
                                                                not permit plaintiffs to file this motion without a brief. Though
                  2019 WL 659009
    Only the Westlaw citation is currently available.           plaintiffs are representing themselves,1 they are nevertheless,
           United States District Court, E.D.                   expected to know and adhere to the rules governing litigation
             Michigan, Southern Division.                       in the court. West v. Saginaw Twp. Police Dep't., 2014 WL
                                                                3599495, at *2 (E.D. Mich. July 22, 2014) (a pro se plaintiff is
         WILLIAMS HURON GARDENS                                 “not excused from failing to follow the Federal Rules of Civil
                                                                Procedure”); Fields v. Cnty. of Lapeer, 2000 WL 1720727
          397 TRUST, et al., Plaintiffs,
                                                                (6th Cir. 2000) (“It is incumbent on litigants, even those
                        v.                                      proceeding pro se, to follow ... rules of procedure.”); Kitchen
            WATERFORD TOWNSHIP                                  v. Corizon Health Inc., 2018 WL 286425, at *4 (W.D. Mich.
                                                                Jan. 4, 2018) (“The Federal Rules of Civil Procedure bind
               et al., Defendants.
                                                                even pro se individuals.”). While a pro se litigant's filings
                                                                are to be liberally construed, see Spencer v. Bouchard, 449
                     Case No.: 18-12319
                                                                F.3d 721, 726 (6th Cir. 2006) (noting “the general practice of
                             |
                                                                liberally construing pro se prisoners' filings”), filings which
                     Signed 01/26/2019
                                                                do not conform to the Federal Rules of Civil Procedure and
Attorneys and Law Firms                                         the Local Rules for the Eastern District of Michigan are
                                                                subject to striking by the Court. For this reason, the motion
Williams Huron Gardens 397 Trust, Waterford Township, MI,       is STRICKEN.
pro se.
                                                                1       This Court has already warned the Williams plaintiffs
Lyle A. Williams, Waterford Township, MI, pro se.
                                                                        that they cannot represent the Trust as trustees and that,
Lyle F. Williams, Waterford Township, MI, pro se.                       as they are proceeding pro se, they may not represent
                                                                        anyone other than themselves. (Dkt. 25). The trust,
Anthony Williams, Waterford Township, MI, pro se.                       having no proper representative who signed the motion,
                                                                        is not a party to this motion.
Michael A. Knoblock, T. Joseph Seward, Seward Peck &
                                                                Further, the plaintiffs did not state whether they sought
Henderson PLLC, Royal Oak, MI, for Defendants Township
                                                                concurrence from defendants and whether concurrence was
of Waterford, Brent Gibson.
                                                                obtained. Local Rule 7.1(a) requires the parties to seek
Michael P. Salhaney, Secrest Wardle, Troy, MI, for Defendant    concurrence prior to bringing a motion to the Court except
Margaret A. Scott.                                              for certain exceptions which do not apply here. As plaintiffs
                                                                did not bring this motion pursuant to the rule allowing
                                                                for an ex parte filing of the same, they were required to
                                                                seek concurrence. For this additional reason, the motion is
ORDER STRIKING PLAINTIFFS' MOTION FOR
                                                                STRICKEN.
INJUNCTIVE RELIEF/EMERGENCY STAY (Dkt. 30)

Stephanie Dawkins Davis, United States Magistrate Judge         IT IS SO ORDERED.

 *1 On January 9, 2019, the plaintiffs in this case filed
their motion for injunctive relief/emergency stay. (Dkt. 30).   All Citations
However, the motion is unaccompanied by a brief in support.
                                                                Not Reported in Fed. Supp., 2019 WL 659009
Local Rule 7.1(d) requires a motion to be accompanied by a

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